                                                                                Case 8:14-cv-01626-JVS-DFM Document 39 Filed 10/30/15 Page 1 of 3 Page ID #:306



                                                                                  1 JEFF M. HALL, ESQ. (SBN 192656)
                                                                                      SMITH | HALL | STRONGIN LLP
                                                                                  2 27345 Ortega Highway, Suite 200
                                                                                      San Juan Capistrano, California 92675
                                                                                  3 Telephone: (949) 496-8101
                                                                                      Facsimile: (949) 496-0278
                                                                                  4 jhall@s-hlawyers.com

                                                                                  5
                                                                                      Attorneys for Plaintiff Ramin Redjai
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                                                                                  8                               UNITED STATES DISTRICT COURT
                                                                                  9                             CENTRAL DISTRICT OF CALIFORNIA
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                                                                                      RAMIN REDJAI, an individual,                         Case No. 8:14-cv-01626-JVS-DFM
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SMITH |HALL | STRONGIN LLP

                             T : (949) 496-8101 F: (949) 496-0278
                              27345 O R T E G A H I G H W A Y , S U I T E 200
                                S A N J U A N C A P I S T R A N O , C A 92675




                                                                                 13                Plaintiff,

                                                                                 14         vs.                                            JOINT STIPULATION FOR
                                                                                                                                           DISMISSAL WITH PREJUDICE
                                                                                 15 NATIONSTAR MORTGATE, LLC, a
                                                                                      Delaware limited liability company,
                                                                                 16

                                                                                 17                Defendant.

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                                                                                                                JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
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                                                                                                       1                            Pursuant to Fed R. Civ. Proc. 41(a)(1)(A)(ii), Plaintiff RAMIN REDJAI (“Plaintiff”)
                                                                                                       2 and Defendant NATIONSTAR MORTGAGE LLC (“Defendant”) (collectively referred to

                                                                                                       3 herein as the “Parties”), by and through their respective undersigned attorneys, hereby

                                                                                                       4 submit the following Joint Stipulation for Dismissal with Prejudice.

                                                                                                       5                            WHEREAS, on October 7, 2014, Plaintiff filed the Complaint initiating the above
                                                                                                       6 entitled action (“Action”), asserting a single cause of action for Violation of the Fair Debt

                                                                                                       7 Collection Practices Act.

                                                                                                       8                            WHEREAS, on November 14, 2014, Defendant filed a Motion to Dismiss the
                                                                                                       9 Complaint.

                                                                                      10                                            WHEREAS, on December 15, 2014, the Court denied Defendant’s Motion to
                                                                                      11 Dismiss.

                                                                                      12                                            WHEREAS, on January 8, 2015, Defendant filed an Answer to Plaintiff’s
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                             T : (949) 496-8101 F: (949) 496-0278




                                                                                 T : (949) 496-8101 F: (949) 496-0278
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                                                                                    S A N J U A N C A P I S T R A N O , C A 92675




                                                                                      13 Complaint.

                                                                                      14                                            WHEREAS, the Parties desire to avoid the time and expense of continuing to
                                                                                      15 pursue the prosecution and defense of the Action.

                                                                                      16                                            WHEREAS, the Parties have agreed to resolve and settle this Action and have
                                                                                      17 entered into a confidential settlement agreement.

                                                                                      18                                            NOW, THEREFORE, Plaintiff and Defendant, through their respective counsel of
                                                                                      19 record, hereby stipulate and agree as follows:

                                                                                      20                                               1. The Action shall be dismissed with prejudice.
                                                                                      21                                               2. Each party shall bear its own attorneys’ fees, costs and expenses incurred in
                                                                                      22                                                  the Action.
                                                                                      23                                               3. The Court shall retain jurisdiction to enforce the terms of the Parties’
                                                                                      24                                                  Confidential Settlement Agreement.
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                                                                                                       1 IT IS SO STIPULATED.

                                                                                                       2
                                                                                                                                    Dated: October 30, 2015                SMITH | HALL | STRONGIN LLP
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                                                                                                                                                                                /s/ Jeff M. Hall
                                                                                                       5                                                                   Jeff M. Hall, Esq.
                                                                                                                                                                           Attorneys for Plaintiff Ramin Redjai
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                                                                                                       7 Dated: October 30, 2015                                           Severson & Werson

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                                                                                                                                                                                 /s/ Yaron Shaham_____________
                                                                                                       9                                                                   Yaron Shaham, Esq.
                                                                                                                                                                           Attorneys for Defendant Nationstar
                                                                                      10                                                                                   Mortgage LLC
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SMITH |HALL | STRONGIN LLP

                             T : (949) 496-8101 F: (949) 496-0278




                                                                                 T : (949) 496-8101 F: (949) 496-0278
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